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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




UNITED STATES                                                            Case No.

                                                                          22-cr-15

                  v.

                                                                 Assigned to the Honorable
                                                                   Judge Amit Mehta
KENNETH HARRELSON

                          Defendant.


 MOTION TO EXTEND DEADLINE FOR FILING SENTENCING MEMO TO MAY 8

       Defendant, Kenneth Harrelson, through the undersigned counsel, Bradford L. Geyer,

moves the Court to set extend the deadline for filing the sentencing memo deadline to permit a

trip to United States Penitentiary, Lewisburg, 2400 Robert F Miller Dr, Lewisburg, PA 17837

over this weekend where counsel can meet and confer with his client and review this filing and

unrelated civil filings for which a similar request has been made to extend the deadline to May 8,

2023 (District of Columbia v. Proud Boys International, LLC 1:21-CV-03267-APM).

       Therefore, Defendant Harrelson, by counsel, requests the Court’s indulgence to allow the

Sentencing memo deadline to be filed by Monday, May 8, 2023. Undersigned counsel has

conferred with the government and it does not consent to this request.



Dated: May 4, 2023                     RESPECTFULLY SUBMITTED
                                       KENNETH HARRELSON, By Counsel

                                       /s/ Brad Geyer



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                                      Bradford L. Geyer, PHV
                                      PA 62998
                                      NJ 022751991
                                      Suite 141 Route 130 S., Suite 303
                                      Cinnaminson, NJ 08077
                                      Brad@FormerFedsGroup.Com
                                      (856) 607-5708


                                CERTIFICATE OF SERVICE

        I hereby certify that on May 4, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
                                      Bradford L. Geyer, PHV
                                      PA 62998
                                      NJ 022751991
                                      Suite 141 Route 130 S., Suite 303
                                      Cinnaminson, NJ 08077
                                      Brad@FormerFedsGroup.Com
                                      (856) 607-5708




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